Case 7:20-cr-00033-WLS-TQL Document 2 Filed 09/15/20 Page 1 of 6

A TRUE BILL.

Taf. 7M LL

FOREPERSON OF THE GBANID JURY

Presented by:

CHARLES E. PEELER
UNITED STATES ATTORNEY

KATELYN SEMALES”
ASSISTANT UNITED STATES ATTORNEY

Filed in open court this i day of September, 2020.

Deputy Clerk

 

 

 
Case 7:20-cr-00033-WLS-TQL Document 2 Filed 09/15/20 Page 2 of 6

AO 190 (Rey. 01/09) Record of the Number of Grand Jurors Concurring in an Indictment

 

UNITED STATES DISTRICT COURT
for the

Middle District of Georgia

United States of America
Vv.
JAYSON E. WRIGHT
and
KARA E. WRIGHT

Defendant

Case No, 7:20-CR-

Se ee ee ee

 

RECORD OF THE NUMBER OF GRAND JURORS CONCURRING IN AN INDICTMENT

As the foreperson of the grand jury of this court at a session held at Macon, Georgia on

 

G ~IS-202 0 _, Llcertify that (specifi number) | 4 __ grand jurors concurred in the indictment in this case.

Under Fed. R. Crim. P. 6(c}, this record is being filed with the court clerk and will not be made public unless the court
orders otherwise.

Date: U-UT=2wWLO Wad C KP

Foreperson’s signgfdrd)

 

 
Case 7:20-cr-00033-WLS-TQL Document 2 Filed 09/15/20 Page 3 of 6

IN THE UNITED STATES DISTRICT COURT FOR THE
MIDDLE DISTRICT OF GEORGIA
VALDOSTA DIVISION

INDICTMENT COVER AND INFORMATION SHEET

SEALED ® UNSEALED (_ )
UNITED STATES OF AMERICA CRIMINAL NO.
v. COUNTY: LOWNDES COUNTY, GA
JAYSON E. WRIGHT OCDETFE:

emat: mhowardl lowndese ounty .Lom
Cell. 234-140 ~)0le>

Return Date: A POPO AUSA: SEMALES

Agency: HSI Agent: _TFO Matthew Howard

 

 

OCDETF Case |__| YES NO IF YES OCDETF CASE No.

 

A, Clerk Issue: Summons: Warrant: =X

NOTE: ISSUE ALL ORIGINAL ARREST WARRANTS TO U.S. MARSHAL, MDGA, ONLY.
THE CLERK SHALL NOT ISSUE COPIES OF ARREST WARRANTS, WHETHER
CERTIFIED OR NOT, TO ANY LAW ENFORCEMENT AGENCY. ANY LAW
ENFORCEMENT AGENCY IN NEED OF COPIES SHALL OBTAIN THEM FROM THE
U.S. MARSHAL’S OFFICE.

B. Warrant(s) to be executed by:

U.S. Marshal Other [| Specify:

Note: All executed arrest warrants shall be returned to the U.S. Marshal.

 

C. Information for arresting officer:
1. Are state or local charges pending on this defendant for the same offense charged in this
indictment? (X ) Yes { ) No ( ) Unknown
If yes, was defendant previously arrested on the state and local charges for the same offense?
{ X ) Yes ( No ( } Unknown
If yes, is defendant still in custody?
(X) Yes ( JNo ( )} Unknown

If yes, where is defendant incarcerated? TBD

 

 
Sex:
Race:
DOB:
SSN:
SID:

Case 7:20-cr-00033-WLS-TQL Document 2 _ Filed 09/15/20

2, Attorney for Defendant (if any):

Name:
Address:
Telephone:

Assistant United States Attorney’s recommendation for bond:

AMOUNT:
Has a court appearance been scheduled? ( ) Yes ( )No

 

if yes, date and time:
Identifying data of defendant:

M Height: 5708”

A Weight: 205
6/15/85 Hair: BLACK
XXX-XX-XXXX Eyes: HAZEL

GA3023774T FB: 476696XB7

History of violence? () Yes ( )No ( } Unknown

History of mental problems? ( }Yes ( )No (€ ) Unknown

History of medical problems? ( ) Yes (€ )No ( ) Unknown
If yes, what type of medical?

Last known address:

4356 WHITE WATER RD., VALDOSTA, GA 31601

Action requested from U.S. Marshal’s Service:
Request USMS make NCIC entry
Refer apprehension responsibility to USMS

x
x Request joint apprehension
__ Agency will arrest without USMS assistance

Voluntary surrender in lieu of arrest (AH Coordination must be

accomplished through the Marshal’s Service)

2) NS /(PO22

 

By: AUSA SEMALES DAT

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IN THE UNITED STATES DISTRICT COURT FOR THE
MIDDLE DISTRICT OF GEORGIA
VALDOSTA DIVISION

INDICTMENT COVER AND INFORMATION SHEET

SEALED ” UNSEALED ( )
UNITED STATES OF AMERICA CRIMINAL NO.
v. COUNTY: LOWNDES COUNTY, GA
KARA E. WRIGHT OCDETF:

 

C-made mhoward@ lowndescounky.com
cell ARI )40-)0b3

Return Date: AUSA: _ SEMALES
Agency: HSI Agent: _TFO Matthew Howard

OCDETF Case |_| YES NO IF YES OCDETF CASE No.

 

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Race:
DOB:

SSN:
SID:

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Case 7:20-cr-00033-WLS-TQL Document 2 _ Filed 09/15/20

2, Attorney for Defendant (if any):
Name:
Address:
Telephone:

Assistant United States Attorney’s recommendation for bond:

AMOUNT:
Has a court appearance been scheduled? ( }) Yes ( ) No

 

If yes, date and time:
Identifying data of defendant:

F Height: 5510:

A Weight: 205

4/14/89 Hair: BLACE

254-7 1-6435 Eyes: BLUE
FBI:

History of violence? () Yes ( )No (X ) Unknown

History of mental problems? ( ) Yes ( }No (X ) Unknown

History of medical problems? ( }Yes ( }No (X ) Unknown
If yes, what type of medical?

Last known address:

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2 4/4] 20
[By: AUSA SEMALES DATE

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